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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 Chapter: 11
In re:
                                                                 Case No.: 22-11257 (KBO)
MEDLY HEALTH INC., et al.1,
                                                                 (Jointly Administered)
                                     Debtors.
                                                                 Objection Deadline: April 17, 2023 at 4:00
                                                                 p.m. (ET)

     THIRD MONTHLY FEE APPLICATION OF PORZIO, BROMBERG & NEWMAN, P.C.
      AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
      FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
         FOR THE PERIOD OF FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023


 Name of Applicant:                                       Porzio, Bromberg & Newman, P.C.

 Authorized to Provide
 Professional Services to:                                Official Committee of Unsecured Creditors

 Date of Retention:                                       January 27, 2023 nunc pro tunc to December 22,
                                                          2022

 Period for which compensation
 and reimbursement is sought:                             February 1, 2023 through February 28, 2023

 Amount of Compensation sought as
 actual, reasonable and necessary
 legal services rendered:                                 $181,763.00

 Amount of Expense Reimbursement
 sought as actual, reasonable and
 necessary:                                               $5,593.17


 1
   The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Medly Health Inc.
 (3391); Care Well Pharmacy, Inc. (9048); Grubbs Care Pharmacy NW Inc. (0490); Marg Pharmacy, Inc. (5838); Medly
 Atlanta Inc. (7312); Medly Baltimore Inc. (2354); Medly Bedford Ave Pharmacy Inc. (3690); Medly Bristol Inc. (4556);
 Medly Bronx Inc. (4741); Medly Chicago Inc. (5231); Medly Dallas Inc. (7581); Medly DC Inc. (9403); Medly Enterprise
 LLC (8898); Medly Grand Central Inc. (1741); Medly Houston Inc. (7443); Medly Jersey City Inc. (5677); Medly Mail
 Service Pharmacy LLC (9203); Medly Miami Inc. (8101); Medly Orlando Inc. (7581); Medly Pharmacy Inc. (4606); Medly
 Pharmacy PA Inc. (8494); Medly Pittsburgh Inc. (8381); Medly Queens Inc. (9623); Medly Raleigh Inc. (5140); Medly San
 Antonio Inc. (9973); Medly Stamford Inc. (4966); Medly Tampa Inc. (5128); Medly UCHC Pharmacy Inc. (6672); Medly
 Utah Inc. (4648); Pharmaca Integrative Pharmacy, Inc. (0334); Tango340B LLC (4781); West Campbell Pharmacy Inc.
 (2931); Khora Health Solutions Inc. (2909); and RPH Innovations LLC (3767). The Debtors’ business address is 7088
 Winchester Circle, Suite 100, Boulder CO 80301.


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This is a(n):    X    monthly           interim         final application


Prior Applications:

 Dated           Period Covered                  Requested                        Approved
 Filed                                       Fees      Expenses                Fees     Expenses
1/31/2023   December 22, 2022 –           $124,539.50        $100.00        $99,631.60    $100.00
            December 31, 2022 (Dkt.
            No. 338)
2/21/2023   January 1, 2023 – January     $321,174.25       $7,194.19       $256,939.40   $7,194.19
            31, 2023 (Dkt. No. 386)




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                         IN THE UNITED STATES BANKRUPTCY COURT
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In re:
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MEDLY HEALTH INC., et al.1,
                                                              (Jointly Administered)
                                   Debtors.
                                                              Objection Deadline: April 17, 2023 at 4:00
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     THIRD MONTHLY FEE APPLICATION OF PORZIO, BROMBERG & NEWMAN, P.C.
      AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
      FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
         FOR THE PERIOD OF FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

           Porzio, Bromberg & Newman, P.C. ("Porzio"), counsel to the Official Committee of

 Unsecured Creditors (the "Committee") of Medly Health Inc., et al., the debtors in the above-

 captioned chapter 11 cases (collectively, the "Debtors"), hereby submits its third monthly fee

 application (the "Application") for entry of an order pursuant to sections 330 and 331 of title 11 of

 the United States Code, 11 U.S.C. §§101 et seq., as amended (the "Bankruptcy Code"), Rule 2016

 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), and Rule 2016-2 of the

 Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

 District of Delaware (the "Local Bankruptcy Rules"), for allowance of compensation for services

 rendered in the amount of $181,763.00 and reimbursement of expenses in the amount $5,593.17


 1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Medly Health
 Inc. (3391); Care Well Pharmacy, Inc. (9048); Grubbs Care Pharmacy NW Inc. (0490); Marg Pharmacy, Inc. (5838);
 Medly Atlanta Inc. (7312); Medly Baltimore Inc. (2354); Medly Bedford Ave Pharmacy Inc. (3690); Medly Bristol
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for the period from February 1, 2023 through February 28, 2023 (the "Compensation Period"), and

in support thereof, respectfully represents as follows:

                                 JURISDICTION AND VENUE

          1.   This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This

is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

          2.   Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.

          3.   The statutory predicates for the relief sought herein are sections 330 and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016 and Local Bankruptcy Rule 2016-2.

                                        BACKGROUND

          4.   On December 9, 2022 (the "Original Petition Date"), Medly Health, Inc., on behalf

of itself and its affiliated debtors and debtors in possession (collectively, the "Original Debtors")

commenced the above-captioned bankruptcy cases (the "Chapter 11 Cases") by filing voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code.

          5.   The Debtors have continued in the possession of their property and have continued

to operate and manage their business as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code.

          6.   On December 21, 2022, the United States Trustee for the District of Delaware (the

"United States Trustee") appointed the five (5) member Committee pursuant to section 1102(a)(1)

of the Bankruptcy Code, and, on December 22, 2022, the Committee selected Porzio to serve as

counsel to the Committee.

          7.   On January 11, 2023, the Committee filed an application seeking the retention of




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Porzio as counsel for the Committee nunc pro tunc to December 22, 2022 [Docket No. 275] (the

"Porzio Retention Application"). A Certificate of No Objection regarding the Porzio Retention

Application was filed January 27, 2023 [Docket No. 332]. The Order approving the Porzio

Retention Application was entered on January 27, 2023 [Docket No. 333].

          8.    On December 19, 2022, the Debtors filed a Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Professionals [Docket

No. 99] (the "Interim Compensation Motion"). The Order approving the Compensation Motion

was entered on January 6, 2023 [Docket No. 192] (the "Interim Compensation Order"), which sets

forth the procedures for interim compensation and reimbursement of expenses in these Chapter 11

Cases.     Specifically, the Interim Compensation Order provides, among other things, that a

Professional may file and serve a monthly fee application (the "Monthly Fee Application") after

the twentieth (20th) day of each month following the month for which compensation is sought.

Provided that there are no objections to the Monthly Fee Application filed within twenty one (21)

days after the service of a Monthly Fee Application, the Professional may file a certificate of no

objection with the Court, after which the Debtors are authorized to pay such Professional eighty

percent (80%) of the fees and one-hundred percent (100%) of the expenses requested in such

Monthly Fee Application. If an objection is filed to the Monthly Fee Application, then the Debtors

are authorized to pay 80% of the fees and 100% of the expenses not subject to objection.

                                    RELIEF REQUESTED

          9.    Pursuant to the Interim Compensation Order and Bankruptcy Code section 331,

Porzio is seeking compensation in the amount of $145,410.40 which is equal to 80% of the

$181,763.00 in fees for professional services rendered by Porzio during the Compensation Period.

This amount is derived solely from the applicable hourly billing rates of Porzio's personnel who




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rendered such services to the Committee. In addition, Porzio is seeking reimbursement of

expenses incurred during the Compensation Period in the amount of $5,593.17.

     A. Compensation Requested

          10.   Attached as Exhibit A is a full and detailed statement describing the services

rendered by each professional and paraprofessional at Porzio during the Compensation Period,

along with the number of hours for each individual and the total compensation sought for each

category. Porzio contends that this detailed itemization complies with Local Bankruptcy Rule

2016-2(d).

     B. Expense Reimbursement

          11.   Porzio incurred $5,593.17 of out-of-pocket expenses during the Compensation

Period. A chart detailing and breaking out the specific disbursements is attached hereto as Exhibit

B.

                                 VALUATION OF SERVICES

          13.   Attorneys and paraprofessionals of Porzio have expended a total of 239.10 hours in

connection with this matter during the Compensation Period.

          14.   The amount of time spent by each of the professionals providing services to the

Committee for the Compensation Period is set forth in Exhibit A hereto. The rates are Porzio's

normal hourly rates of compensation for work of this character. The reasonable value of the

services rendered by Porzio for the Compensation Period as counsel for the Committee in these

cases is $181,763.00.

          15.   In accordance with the factors enumerated in Bankruptcy Code section 330, Porzio

contends that the amount requested is fair and reasonable given (i) the complexity of these cases,

(ii) the time expended, (iii) the nature and extent of the services rendered, (iv) the value of such




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services, and (v) the costs of comparable services other than in a case under this title. Porzio's fees

are reasonable and appropriate under the applicable legal standard and in light of the complexities,

timeline, size and necessity of swiftly getting the Committee up to speed on the material issues of

value in this case, and should therefore be allowed.

          16.   Porzio believes that the time entries included in Exhibit A and the expense

breakdown set forth in Exhibit B are in compliance with the requirements of Local Bankruptcy

Rule 2016-2.

                                      NO PRIOR REQUEST

          17.   No prior request for the relief sought in the Application has been made to this or

any other court.

                     CERTIFICATE OF COMPLIANCE AND WAIVER

          18.   The undersigned representative of Porzio certifies that she has reviewed the

requirements of Local Bankruptcy Rule 2016-2 and that the Application substantially complies

with that Local Bankruptcy Rule. To the extent that the Application does not comply in all respects

with the requirements of Local Bankruptcy Rule 2016-2, Porzio believes that such deviations are

not material and respectfully requests that any such requirements be waived.

          WHEREFORE, Porzio hereby requests pursuant to the procedures allowed in the Interim

Compensation Order: (i) allowance of compensation for necessary and valuable professional

services rendered to the Committee in the amount of $181,763.00 and reimbursement of expenses

in the amount of $5,593.17 for the period from February 1, 2023 through February 28, 2023; (ii)

payment in the total amount of $151,003.57 (representing 80% of the total fees ($181,763.00)

billed and 100% of the expenses incurred during the Compensation Period); and (iii) such other

relief as this Court deems just and proper.




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 Date: March 27, 2023                     /s/ Cheryl A. Santaniello
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                                          Porzio, Bromberg & Newman, P.C.
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                                          Wilmington, Delaware 19801
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                                          Email: casantaniello@pbnlaw.com

                                          -and-

                                          Warren J. Martin Jr., Esq. (Pro Hac Vice)
                                          Robert M. Schechter, Esq. (Pro Hac Vice)
                                          Kelly D. Curtin, Esq. (Pro Hac Vice)
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                                          Unsecured Creditors




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